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                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MAINE

LYLE BERNIER,

               Plaintiff,

       vs.                                                     Civil No. 20-303-JAW

AROOSTOOK COUNTY JAIL, et al.,

               Defendant



               ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES
             AND DEMAND FOR JURY TRIAL (AROOSTOOK COUNTY JAIL)

       Defendant Aroostook County Jail, by and through counsel, hereby responds to the

Plaintiff’s Complaint as follows:

I.     The Parties to This Complaint

       A.      The Defendant is without sufficient information or knowledge to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.

       B.      The Defendant is without sufficient information or knowledge to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.

II.    Basis for Jurisdiction

       A.      The allegations contained in the conclusory paragraph of the Plaintiff’s

Complaint constitute assertions of law to which no response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, denies same.

       B.      The allegations contained in the conclusory paragraph of the Plaintiff’s

Complaint constitute assertions of law to which no response is required. Alternatively, the
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Defendant is without sufficient information or knowledge to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, denies same.

       C.      The Defendant is without sufficient information or knowledge to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.

       D.      The allegations contained in the conclusory paragraph of the Plaintiff’s

Complaint constitute assertions of law to which no response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, denies same.

III.   Prisoner Status

       The allegations contained in the conclusory paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the Defendant is

without sufficient information or knowledge to form a belief as to the truth of the allegations

contained in this paragraph of Plaintiff’s Complaint and, accordingly, denies same.

IV.    Statement of Claim

       A.      The Defendant denies the allegations contained in this paragraph of Plaintiff’s

Complaint.

       B.      To the extent this paragraph makes factual assertions against this Defendant,

they are denied. The remaining allegations contained in the introductory paragraph of the

Plaintiff’s Complaint constitute assertions of law to which no response is required.

Alternatively, the Defendant is without sufficient information or knowledge to form a belief as to

the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.

       C.      To the extent this paragraph makes factual assertions against this Defendant,

they are denied. The remaining allegations contained in the introductory paragraph of the

Plaintiff’s Complaint constitute assertions of law to which no response is required.



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Alternatively, the Defendant is without sufficient information or knowledge to form a belief as to

the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.

       D.       The allegations contained in the conclusory paragraph of the Plaintiff’s

Complaint constitute assertions of law to which no response is required. Alternatively, the

Defendant is without sufficient information or knowledge to form a belief as to the truth of the

allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly, denies same.

V.     Injuries

       The Defendant denies the premise of the allegations contained in this paragraph of

Plaintiff’s Complaint and, therefore, denies the allegations contained in this paragraph of

Plaintiff’s Complaint.

VI.    Relief

       The allegations contained in the conclusory paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the Defendant is

without sufficient information or knowledge to form a belief as to the truth of the allegations

contained in this paragraph of Plaintiff’s Complaint and, accordingly, denies same.

VII.   Exhaustion of Administrative Remedies

       The allegations contained in the conclusory paragraph of the Plaintiff’s Complaint

constitute assertions of law to which no response is required. Alternatively, the Defendant is

without sufficient information or knowledge to form a belief as to the truth of the allegations

contained in this paragraph of Plaintiff’s Complaint and, accordingly, denies same.

       A.       The Defendant denies the premise of the allegations contained in this paragraph

of Plaintiff’s Complaint and, therefore, denies the allegations contained in this paragraph of

Plaintiff’s Complaint.

       B.       The Defendant admits that the Aroostook County Jail had procedures for inmate

grievances. The Defendant denies the premise of the remaining allegations contained in this



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paragraph of Plaintiff’s Complaint and, therefore, denies the remaining allegations contained in

this paragraph of Plaintiff’s Complaint.

       C.      The Defendant is without sufficient information or knowledge to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.

       D.      The Defendant admits that the Plaintiff has files a variety of grievance forms. The

Defendant denies the premise of the remaining allegations contained in this paragraph of

Plaintiff’s Complaint and, therefore, denies the remaining allegations contained in this

paragraph of Plaintiff’s Complaint.

       E.      The Defendant is without sufficient information or knowledge to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.

       1.      The Defendant admits that the Plaintiff has files a variety of grievance forms. The

   Defendant denies the premise of the remaining allegations contained in this paragraph of

   Plaintiff’s Complaint and, therefore, denies the remaining allegations contained in this

   paragraph of Plaintiff’s Complaint.

       2.      The Defendant admits that the Plaintiff has files a variety of grievance forms. The

   Defendant denies the premise of the remaining allegations contained in this paragraph of

   Plaintiff’s Complaint and, therefore, denies the remaining allegations contained in this

   paragraph of Plaintiff’s Complaint.

       3.      The Defendant is without sufficient information or knowledge to form a belief as

   to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

   accordingly, denies same.

       4.      The Defendant denies the premise of the allegations contained in this paragraph

   of Plaintiff’s Complaint and, therefore, denies the allegations contained in this paragraph of

   Plaintiff’s Complaint.



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        F.     The Defendant is without sufficient information or knowledge to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

accordingly, denies same.

        1.     The Defendant is without sufficient information or knowledge to form a belief as

   to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

   accordingly, denies same.

        2.     The Defendant is without sufficient information or knowledge to form a belief as

   to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and,

   accordingly, denies same.

        G.     To the extent this paragraph makes factual assertions against this Defendant,

they are denied. The Defendant is without sufficient information or knowledge to form a belief

as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint

and, accordingly, denies same.

VIII.   Previous Lawsuits

        The Defendant is without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in this paragraph of Plaintiff’s Complaint and, accordingly,

denies same.

        A.     The Defendant is without sufficient information or knowledge to form a belief as

               to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint

               and, accordingly, denies same.

        B.     The Defendant is without sufficient information or knowledge to form a belief as

               to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint

               and, accordingly, denies same.

        C.     The Defendant is without sufficient information or knowledge to form a belief as

               to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint

               and, accordingly, denies same.



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        D.      The Defendant is without sufficient information or knowledge to form a belief as

                to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint

                and, accordingly, denies same.

IX.     Certification/Closing

        The allegations contained in the conclusory section of the Plaintiff’s Complaint –

including all subparts in this section – constitute assertions of law to which no response is

required. Alternatively, the Defendant is without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this section of Plaintiff’s Complaint and,

accordingly, denies same.

                                     AFFIRMATIVE DEFENSES

        1.      The Defendant has at all times acted in good faith and without knowledge that its

conduct violated any clearly established constitutional or statutory rights of the Plaintiff.

        2.      The Defendant’s conduct did not violate any clearly established constitutional or

statutory rights of the Plaintiff.

        3.      No reasonable person would have known that the Defendant’s conduct violated

any clearly established constitutional or statutory rights of the Plaintiff.

        4.      To the extent that the Plaintiff endeavors to make a state claim grounded in tort,

the claim is barred by Plaintiff's failure to comply with the notice provisions of the Maine Tort

Claims Act, 14 M.R.S. § 8107.

        5.      To the extent that the Plaintiff endeavors to make a state claim grounded in tort,

the claim is barred by the immunity provisions of the Maine Tort Claims Act, 14 M.R.S. §§ 8103,

8104-B, and 8111.

        6.      To the extent that the Plaintiff endeavors to make a state claim grounded in tort,

the claim is capped by the limitations on damages set forth in the Maine Tort Claims Act.

        7.      The Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of

limitations.



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       8.      To the extent that the Plaintiff’s Complaint seeks to impose liability on the

Defendant in its representative capacity, the Complaint fails to state a claim upon which relief

may be granted.

       9.      The Plaintiff’s own conduct was the sole or a contributing cause of his injuries.

       10.     The Plaintiff’s Complaint, in whole or in part, fails to state a claim upon which

relief may be granted.

       11.     The Plaintiff’s claims are barred for the reason that the Defendant is not liable

under a theory of respondeat superior for the actions of its agents or employees.

       12.     The Plaintiff’s claims are barred for the reason that Plaintiff has failed to identify

an official policy, custom or practice which has been adopted by the Defendant that was the

moving force behind the alleged violations.

       13.     The Plaintiff’s claims are barred for the reason that the Defendant’s actions do

not constitute deliberate indifference or conduct which is shocking to the conscience.

       14.     The Plaintiff’s claims are barred for the reason that the allegations in the

Complaint refer to conduct that is not actionable under 42 U.S.C. § 1983.

       15.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of immunity.

       16.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of qualified

immunity.

       17.     To the extent that the Plaintiff seeks injunctive or declaratory relief, he has no

standing.

       18.     The Plaintiff has adequate remedies under State law, and therefore no action lies

under 42 U.S.C. § 1983 in the Maine Constitution or the United States Constitution.

       19.     The Plaintiff’s Complaint, in whole or in part, fails to state justiciable claims.

       20.     The Defendant reserves the right to demonstrate that the Plaintiff has failed to

mitigate his damages.




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        21.     The Plaintiff’s claims are barred, in whole or in part, by the failure to exhaust

available administrative remedies.

        22.     The Plaintiff’s claims are barred by provisions of the Prison Litigation Reform

Act, including but not limited to 42 U.S.C. § 1997e(a) and/or 42 U.S.C. § 1997e(e).

        23.     The Plaintiff’s claims are barred, in whole or in part, by the failure to name a

person or entity that is subject to suit.

        24.     The Defendant reserves the right to demonstrate that the Plaintiff’s claims are

barred, in whole or in part, because any burden on the Plaintiff’s religious exercise was justified

by a compelling governmental interest and was the least restrictive means of furthering that

interest.

                                            JURY DEMAND

        Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the Defendant

requests a trial by jury on all claims and issues properly tried to a jury.

        WHEREFORE, Defendant Aroostook County Jail demands judgment in its favor with

regard to all claims of the Plaintiff’s Complaint, including an award of costs and attorneys’ fees,

if appropriate, and such other relief as the Court deems just.

        Dated at Portland, Maine this 19th day of January, 2020.

                                        Attorneys for Defendant Aroostook County Jail
                                        MONAGHAN LEAHY, LLP
                                        95 Exchange Street, P.O. Box 7046
                                        Portland, ME 04112-7046
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                                BY:     /s/ John J. Wall, III
                                        John J. Wall, III




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                               CERTIFICATE OF SERVICE

        I hereby certify that on January 19, 2021, I electronically filed Answer to Complaint
and Affirmative Defenses and Demand for Jury Trial (Aroostook County Jail) using
the CM/ECF system. In addition, I hereby certify that I have served a copy of this document on
the Plaintiff by first class mail, postage prepaid, to the following address:

              Lyle Bernier
              #10498
              Aroostook County Jail
              15 Broadway
              Houlton, ME 04730

       Dated at Portland, Maine this 19th day of January, 2015.

                                    Attorneys for Defendant Aroostook County Jail
                                    MONAGHAN LEAHY, LLP
                                    95 Exchange Street, P.O. Box 7046
                                    Portland, ME 04112-7046
                                    (207) 774-3906
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                             BY:    /s/ John J. Wall, III
                                    John J. Wall, III




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